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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

 IN RE GREENSKY SECURITIES                        Case No. 18-cv-11071 (AKH)
 LITIGATION




        LEAD PLAINTIFFS’ NOTICE OF UNOPPOSED MOTION FOR
           PRELIMINARY APPROVAL OF THE SETTLEMENT

       PLEASE TAKE NOTICE that Lead Plaintiffs Northeast Carpenters Annuity Fund, El Paso

Firemen & Policemen’s Pension Fund, and the Employees’ Retirement System of the City of

Baton Rouge and Parish of East Baton Rouge (collectively, “Lead Plaintiffs”), on behalf of

themselves and each of the Class Members, move this Court before the Honorable Alvin K.

Hellerstein for an order pursuant to Rule 23(e) of the Federal Rules of Civil Procedure (i)

preliminarily approving the proposed Settlement; (ii) approving the form and manner of notice to

Class Members; and (iii) scheduling a final approval hearing on the Settlement and dismissal of

the Action with prejudice upon the terms and conditions set forth in the Stipulation of Settlement

filed herewith, and on Co-Lead Counsel’s application for an award of attorneys’ fees and

reimbursement of Litigation Expenses.
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Dated: May 24, 2021               Respectfully submitted,

                                  /s/ Steven J. Toll

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